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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2016 OK 64Case Number: SCBD-6396Decided: 06/06/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 64, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2015




ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION


On May 23, 2016, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2015 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2016, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2015.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6TH DAY OF JUNE, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



&nbsp;


&nbsp;

Alexander Louis Bednar, OBA No. 19635
3030 N.W. Expressway, Ste. 200
Oklahoma City, OK 73112

Leon Douglas Bragg Jr., OBA No. 22780
1709 Chamblee Dr.
Norman, OK 73071

Michael Burleson Bush, OBA No. 21123
The Public Finance Law Group, PLLC
5657 N. Classen Blvd.
Oklahoma City, OK 73118

Elizabeth Riley Castleberry, OBA No. 10460
1755 W. 33rd Street, Ste. 100
Edmond, OK 73013

John Michael Curney, OBA No. 19984
411 Heimer Rd.
San Antonio, TX 78232-4854

John Jay Dalton, OBA No. 15381
4050 E. 53rd St.
Tulsa, OK 74135

Jared Ray Ellis, OBA No. 30070
P.O. Box 2152
Lawton, OK 73502-2152

Marco Dax Flores, OBA No. 31913
901 Main St., Suite 3500
Dallas, TX 75202

Shanita Danielle Gaines, OBA No. 30796
P.O. Box 298
Oklahoma City, OK 73101-0298

James Martin Graves, OBA No. 16657
P.O. Box 3618
Fayetteville, AR 72702

Lenora Michelle Gulley, OBA No. 30378
212 North Fourth Street
Muskogee, OK 74403

John Christopher Hastings, OBA No. 14735
7917 South 72nd East Ave.
Tulsa, OK 74133

Robert Baker Highsaw Jr., OBA No. 4193
8201 S. Walker Ave.
Oklahoma City, OK 73139-9451

Steven Erik Hjelm, OBA No. 17230
9010 S. Darlington Ave.
Tulsa, OK 74137

Nomaan K. Husain, OBA No. 30963
5858 Westheimer Rd., Ste. 400
Houston, TX 77057-5644

Laura Roxanne Emory Johns, OBA No. 31603
2901 N. Classen Blvd., Suite 112
Oklahoma City, OK 73106

Noah Douglas Johnson, OBA No. 32026
8815 Audrie Rae Ln.
Cypress, TX 77433

Christopher Wallace Lawyer, OBA No. 31927
10919 Micalet Court
San Antonio, TX 78249

Stephanie Michelle Lorance, OBA No. 22633
217 N. Harvey, Ste. 406
Oklahoma City, OK 73102

David Charles Mainprize, OBA No. 30779
1721b W. Easton St.
Tulsa, OK 74127

Nathan Andrew McCaffrey, OBA No. 20090
112 N.E. Fourth St.
P.O. Box 1739
Guymon, OK 73942

Scott Ford McKinney, OBA No. 16692
12216 Banyan Lane
Oklahoma City, OK 73162

Charles Lee Mullens III, OBA No. 22659
3201 Preston Drive
Oklahoma City, OK 73122

Brian Edward Powley, OBA No. 17691
7628 N.W. 101st St.
Oklahoma City, OK 73162-5301

Robert Lee Rabon, OBA No. 13523
402 E. Jackson
P.O. Box 726
Hugo, OK 74743

Jill E. Redwine, OBA No. 30923
3012 Hickory Stick Rd.
Oklahoma City, OK 73102

Laure M. Resides, OBA No. 19521
P.O. Box 96812
Oklahoma City, OK 73143-6812

Jeff Michael Roberts, OBA No. 22287
11717 North Morgan Rd.
Yukon, OK 73099

Brandi Dawn Robertson, OBA No. 21338
P. O. Box 140076
Broken Arrow, OK 74014

Jeffrey Daniel Shelton, OBA No. 31305
210 Park Ave., Ste. 1140
Oklahoma City, OK 73102

Lorin Marc Subar, OBA No. 31296
10440 N. Central Expy., Suite 520
Dallas, TX 75231

Leslie Dillon Thomas, OBA No. 31794
9191 Siegen Lane, Ste. 5B
Baton Rouge, LA 70810





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